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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------x
  FAIR HOUSING JUSTICE CENTER, INC.                                            CV

                                              Plaintiff,
                      -against-                                                COMPLAINT

  BRUCKNER TOWER LLC, CARNEGIE                                                 JURY TRIAL REQUESTED
  MANAGEMENT INC., KARL FISCHER
  ARCHITECTURE PLLC, AND FISCHER +
  MAKOOI ARCHITECTS PLLC

                                              Defendants.
  ---------------------------------------------------------------x

                                           COMPLAINT

        Plaintiff Fair Housing Justice Center, Inc. (hereafter also referred to as “FHJC” or

"plaintiff”), by counsel, Parker Hanski LLC, as and for the Complaint in this action

against defendants Bruckner Tower LLC, Carnegie Management Inc., Karl Fischer

Architecture PLLC and Fischer + Makooi Architects PLLC (together collectively referred

to as "defendants"), hereby alleges as follows:

                                      NATURE OF THE CLAIMS

        1.       Plaintiff seeks to remediate rampant inaccessibility at a newly constructed

residential apartment building for the benefit of persons with disabilities and those

associated with them. The day has come for defendants to accept responsibility to retrofit

the apartment building that they designed and constructed in violation of the law.

Defendants’ unlawful practices continue to the present day.

        2.       By this action, plaintiff asks for declaratory, injunctive and equitable

relief, as well as compensatory and punitive damages to redress defendants' violations of

Federal Fair Housing Amendments Act of 1988 (“FHAA”), Title VIII of the Civil Rights



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Act, 42 U.S.C. §§ 3601 et. seq.; the New York State Executive Law (the "Executive

Law''), § 296 et. seq., New York State Civil Rights Law, § 40, and the Administrative

Code of the City New York (the ''Administrative Code''), § 8-107 et. seq.

        3.      To reap unlawful profits, these defendants have and continue to make

financial decisions to ignore the laws obligating defendants to make their apartment

buildings accessible to persons with disabilities.

        4.      Upon information and belief, defendants have and continue to design,

construct and maintain apartment buildings that are not accessible to persons with

disabilities.

                               JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331

and 1343 and 42 U.S.C. § 3613 as this action involves federal questions regarding the

deprivation of plaintiff’s rights under the FHAA. The Court has supplemental

jurisdiction over plaintiff's related claims arising under the New York State and City laws

pursuant to 28 U.S.C. § 1367(a).

        6.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

defendants’ acts of discrimination occurred in this district and the residential apartment

building that is the subject of this action is located in this district.

The Property

        7.      The real property at issue in this action is commonly referred to as the

“Crescendo”, a residential complex located at 25 Bruckner Boulevard in Bronx County,

New York (hereinafter referred to as “25 Bruckner Boulevard”).




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       8.      25 Bruckner Boulevard is a residential apartment complex consisting of

two buildings called "The Staccato" and "The Legato."

       9.      The Legato is a six-story building with elevator access containing

approximately 108 rental dwelling units as well as public and common use areas.

       10.     The Staccato is a six-story building with elevator access containing

approximately 22 rental dwelling units as well as public and common use areas.

       11.     These rental units at the 25 Bruckner Boulevard are “dwellings” within the

meaning of 42 U.S.C. §3602(b); “dwelling units” within the meaning of 24 C.F.R.§

100.21; as well as “housing accommodations” within the meaning of the Administrative

Code §8-102(10) and Executive Law § 292(10).

       12.     25 Bruckner Boulevard was designed and constructed for first occupancy

after March 13, 1991.

       13.     25 Bruckner Boulevard received its Final Certificate of Occupancy on

October 11, 2018 from the New York City Department of Buildings.

       14.     All of the residential units are “covered multifamily dwellings” within the

meaning of 42 U.S.C. §3604(f)(7) and 24 C.F.R.§ 100.21; “housing accommodations”

within the meaning of the Administrative Code § 8-102(10); and a “multiple dwelling”

and a “multiple-family dwelling” within the meaning of the Executive Law § 292(12).

       15.     25 Bruckner Boulevard is subject to the accessibility requirements of 42

U.S.C. §3604(f)(3)(C) and 24 C.F.R.§ 100.205(a), and (c) as well as the accessibility

requirements of New York State and New York City.




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                                         PARTIES

Plaintiff

       16.     FHJC is a non-profit organization dedicated to ensuring that all people

have equal access to housing opportunities in the New York City metropolitan region by

eliminating housing discrimination and creating open, accessible, inclusive communities.

       17.     FHJC’s principal office is located in the City of New York.

       18.     Among other things, FHJC: (a) provides information to the public and

other nonprofit organizations in the New York City regional area about fair housing laws,

(b) provides intake counseling to individuals and organizations with allegations of

housing discrimination, (c) conducts testing and other investigations of allegations of

housing discrimination, (d) makes legal referrals to cooperating attorneys, (e) assists with

the preparation and filing of administrative housing discrimination Amended Complaints,

and (f) provides post-referral litigation support services. FHJC provides these services

free of charge and without regard to income.

       19.     FHJC also conducts testing investigations for government law

enforcement agencies, provides technical assistance to nonprofit organizations engaging

in fair housing enforcement activities, and engages in policy initiatives that further

FHJC’s mission, including the publication and dissemination of reports and educational

materials.

       20.     FHJC employs individuals as “testers,” who are persons that assume the

role of renters or homebuyers for the purpose of obtaining information about the conduct

of local governments, landlords, real estate companies, agents, and others to determine

whether unlawful housing discrimination is taking place.




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       21.    FHJC expended staff time and other resources to investigate and respond

to defendants’ discriminatory conduct, which has diverted resources away from other

FHJC activities.

       22.    Defendants’ discriminatory practices frustrated and continue to frustrate

FHJC’s mission to ensure that all people have equal access to housing opportunities in

the greater New York City region by designing and constructing inaccessible housing.

       23.    FHJC has been and will continue to be injured by the discriminatory

housing practices of defendants, and is an “aggrieved person” as defined in 42 U.S.C. §

3602(i) of the FHAA.

Defendants

       24.    Each of the defendants participated in the process of the design and

construction of 25 Bruckner Boulevard and, as such, each of the defendants had an

independent non-delegable duty to comply with the requirements of the FHAA.

       25.    Defendant Bruckner Tower LLC is the current owner in fee simple of 25

Bruckner Boulevard.

       26.    Defendant Bruckner Tower LLC is a domestic limited liability company

formed pursuant to the laws of the State of New York.

       27.    Defendant Bruckner Tower LLC has designed and constructed residential

rental and commercial buildings throughout the United States.

       28.    Defendant Carnegie Management Inc. acted as the developer of 25

Bruckner Boulevard and was, among other things, responsible for the overall design and

construction of the dwellings at 25 Bruckner Boulevard.




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       29.     Defendant Carnegie Management Inc. is a domestic business corporation

formed pursuant to the laws of the State of New York.

       30.     Defendant Carnegie Management Inc. hired defendants Karl Fischer

Architecture PLLC and Fischer + Makooi Architects PLLC to perform architectural

services for the design and construction of 25 Bruckner Boulevard.

       31.     Defendant Fischer + Makooi Architects PLLC is a domestic professional

service limited liability company doing business in New York State.

       32.     Defendants Karl Fischer Architecture PLLC is a domestic professional

service limited liability company doing business in New York State.

       33.     Defendants Karl Fischer Architecture PLLC and Fischer + Makooi

Architects PLLC did perform architectural services at 25 Bruckner Boulevard and, as

such, was involved with the design and construction of the multi-family residential

dwelling units and common areas at 25 Bruckner Boulevard.

       34.     The website for defendant Karl Fischer Architecture PLLC is

https://www.kfarchitect.com/

       35.     In 2012, Fariba Makooi joined Karl Fischer Architecture PLLC as a

Senior Managing Architect. See https://fmarchitect.com/#history

       36.     At some point thereafter, Fariba Makooi and Karl Fischer created a new

entity called Fischer + Makooi Architects PLLC.

       37.     At all times relevant to this action, Fariba Makooi and Karl Fischer were

principals in defendant Fischer + Makooi Architects PLLC.

       38.     Defendant Fischer + Makooi Architects PLLC was incorporated in or

around 2017.




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        39.    The website for defendant Karl Fischer Architecture PLLC states on its

homepage that Karl Fischer Architecture PLLC “has become Fischer + Makooi

Architects PLLC, 242 West 30th Street, Suite 1102, New York, N.Y. 10001 (USA)

Tel: 212-219-9733.” See https://www.kfarchitect.com/ (last visited on June 4, 2019).

        40.    Defendant “Fischer + Makooi Architects PLLC is an Architectural,

Interior Design and Planning firm which is a successor to [defendant] Karl Fischer

Architecture PLLC, established by Karl Fischer in 1984.” See “About Us” statement in

the Linkedin page for Fischer + Makooi Architects PLLC at

https://www.linkedin.com/company/fischer-makooi-architects-pllc (last visited on June

4, 2019).

        41.    Defendant Karl Fischer Architecture PLLC became defendant Fischer +

Makooi Architects PLLC.

        42.    The website for defendant Karl Fischer Architecture PLLC directs

visitors to now go to the website for defendant Fischer + Makooi Architects PLLC

https://fmarchitect.com/#home.

        43.    Karl Fischer is and was founder of defendant Fischer + Makooi

Architects PLLC.

        44.    Karl Fischer has and/or had an ownership interest in defendant Fischer +

Makooi Architects PLLC.

        45.    Karl Fischer performed work for defendant Fischer + Makooi Architects

PLLC.

        46.    Defendant Fischer + Makooi Architects PLLC has a geographical

“projects map” of architectural projects that it worked on.



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https://fmarchitect.com/#projectmap (last visited on June 4, 2019).

       47.     Defendant Fischer + Makooi Architects PLLC identifies 25 Bruckner

Boulevard in its geographical map of projects. See

https://fmarchitect.com/#projectmap (last visited on June 4, 2019).

       48.     Defendant Fischer + Makooi Architects PLLC has a “portfolio” of

buildings that it worked on. See https://fmarchitect.com/#works (last visited on June

4, 2019).

       49.     Defendant Fischer + Makooi Architects PLLC identifies 25 Bruckner

Boulevard within its “portfolio” of buildings.

See https://fmarchitect.com/portfolio/crescendo/ (last visited on June 4, 2019).

       50.     Defendant Carnegie Management Inc. is the builder and developer of 25

Bruckner Boulevard, and, in those capacities, designed and constructed the 25 Bruckner

Boulevard complex.

       51.     Defendants Carnegie Management Inc. and Bruckner Tower LLC are

related corporations under common ownership and control.

Investigation of inaccessible features at 25 Bruckner Boulevard

       52.     FHJC conducted an investigation into whether 25 Bruckner Boulevard

was accessible to people with disabilities who use wheelchairs and whether 25 Bruckner

Boulevard was designed and constructed in compliance with the accessibility

requirements of the fair housing laws.

       53.     As part of their investigation, FHJC sent testers to 25 Bruckner Boulevard

to obtain information and take measurements.




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       54.     On or about October 12, 2018, November 15, 2018, and November 21,

2018, FHJC sent testers posing as individuals interested in renting an apartment for a

relative with disabilities who uses a wheelchair.

       55.     At 25 Bruckner Boulevard, FHJC testers observed that the apartments,

public-use and common-use areas were not readily accessible to, and usable by, people

with disabilities; doors were not designed to allow passage into and within all premises

within such dwellings that are sufficiently wide to allow passage by people in

wheelchairs; an accessible route was not provided into and through the dwellings to

provide access for people with disabilities throughout units; electrical outlets were not in

accessible locations; lack of information concerning reinforcements in bathroom walls

that allow for the later installation of grab bars around toilet, tub, shower stall and shower

seat; and lack of usable kitchens and bathrooms such that an individual who uses a

wheelchair can maneuver about the space.

       56.     25 Bruckner Boulevard is inaccessible to people with disabilities. The

architectural barriers at 25 Bruckner Boulevard deny and restrict people with disabilities

from having the full ability to use and enjoy their home, and the building encompassing

it, in the same manner as non-disabled persons.

       57.     Upon information and belief, a full inspection of 25 Bruckner Boulevard

will reveal the existence of other barriers to access.

       58.     As required by the FHAA (remedial civil rights legislation) and to

properly remedy defendants’ discriminatory violations and avoid piecemeal litigation,

plaintiff requires a full inspection of 25 Bruckner Boulevard in order to catalogue and

obtain remediation of the areas of non-compliance not identified in the Complaint.




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Notice is therefore given that plaintiff intend on amending the Complaint to include any

violations discovered during an inspection that are not contained in this Complaint.

                            FIRST CAUSE OF ACTION
                       (VIOLATION OF FAIR HOUSING ACT)

        59.     Plaintiff realleges and incorporates by this reference all allegations set

forth in this Complaint as if fully set forth herein.

        60.     Congress enacted the design and construction accessibility requirement as

part of comprehensive amendments to the Fair Housing Act in order to prohibit

discrimination on the basis of disability.

        61.     The legislative history of the FHAA reflects Congress’ findings that the

creation of architectural barriers at multifamily dwellings – for example, steps and

thresholds at building or unit entrances - is equivalent to posting a sign saying, “No

Disabled People Allowed.”

        62.     Congress stressed that enforcement of civil rights laws is necessary to

protect people with disabilities from the “devastating” impact of housing discrimination,

including “architectural barriers” created by architects, developers and builders who fail

to design and construct dwellings and common use areas at those dwellings accessible to

and adaptable by people with disabilities. H.R. Rep. No. 100-711, at 25 (1988), reprinted

in 1988 U.S.C.A.A.N. 2173, 2186; 134 Cong. Rec. S10454, 10463 (Aug. 1, 1998).

        63.     Pursuant to Congressional authority, the United States Department of

Housing and Urban Development (“HUD”) promulgated the final FHAA design and

construction regulations in January 1989. 24 C.F.R. § 100.205. HUD published the final

Fair Housing Accessibility Guidelines on March 6, 1991, 56 Fed. Reg. 9472

(“FHAAG”).



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       64.     The FHAA mandates that multi-family residential buildings built for first

occupancy after March 13, 1991 containing four (4) or more units (“covered multi-family

dwellings”) must satisfy minimum design and construction requirements. Pursuant to 42

U.S.C. §3604(f)(3)(C), covered multi-family dwellings must provide at least the

following:

                (i)     the public use and common use portions of such dwellings are
                        readily accessible to and usable by handicapped persons;

                (ii)    all the doors designed to allow passage into and within all
                        premises within such dwellings are sufficiently wide to allow
                        passage by handicapped persons in wheelchairs; and

                (iii)   all premises within such dwellings contain the following features
                        of adaptive design:
                             (I)      an accessible route into and through the dwelling;
                             (II)     light switches, electrical outlets, thermostats, and
                                      other environmental controls in accessible
                                      locations;
                             (III)    reinforcements in bathroom walls to allow later
                                      installation of grab bars; and
                             (IV)     usable kitchens and bathrooms such that an
                                      individual in a wheelchair can maneuver about the
                                      space.


       65.     25 Bruckner Boulevard fails to satisfy the minimum design and

construction requirements of the FHAA.

       66.     Plaintiff FHJC has suffered an injury under the FHAA because for, among

other reasons, its financial resources have been diverted from its time and services to

investigate and counteract the defendants’ unlawful conduct. Plaintiff FHJC has been

and continues to be frustrated in its mission and efforts by having to devote resources

toward the defendants’ unlawful conduct.




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          67.   Plaintiff is an “aggrieved person” authorized to file suit under the FHAA.

42 U.S.C. §§ 3602 and 3613(a)(1)(A).

          68.   25 Bruckner Boulevard is a “covered multi-family dwellings” as defined

by 42 U.S.C. § 3604(f)(7).

          69.   Defendants have and continue to violate 42 U.S.C. § 3604(f)(3)(C) and 24

C.F.R.§100.205(c) by failing to design and construct 25 Bruckner Boulevard in a manner

that the public use and common use portions are readily accessible to and usable by

persons with disabilities.

          70.   More specifically, defendants have and continue to violate 42 U.S.C. §

3604(f)(3)(C) and 24 C.F.R.§100.205(c) by failing to design and construct 25 Bruckner

Boulevard in a manner that all premises contain all the required features of adaptive

design.

          71.   Defendants therefore discriminate in the rental of, and otherwise make

unavailable or deny, dwellings to renters because of disability in violation of 42 U.S.C. §

3604(f)(1) and 24 C.F.R.§ 100.202(a).

          72.   Defendants discriminate against persons with disabilities in the terms,

conditions, or privileges of the rental of a dwelling, or in the provision of services or

facilities in connection with the dwelling, because of a disability, in violation of 42

U.S.C. § 3604(f)(2) and 24 C.F.R.§ 100.202(b).

          73.   Defendants engage in a pattern and practice of continuing to design and

construct covered multifamily dwellings and adjoining common use areas in violation of

42 U.S.C. § 3604(f)(3)(C) and 24 C.F.R.§ 100.205(c).




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         74.    As a direct and proximate result of defendants’ failure to design and

construct in compliance with the accessibility requirements of the FHAA, plaintiff has

and continue to suffer damages, including for plaintiff FHJC the diversion of resources

and frustration of mission.

         75.    Defendants have and continue to discriminate against plaintiff in violation

of the FHAA by creating, fostering, condoning, accepting, ratifying, and otherwise failing

to prevent or to remedy the discrimination described herein.

         76.    Defendants’ failure to design and construct was intentional, willful, or

with reckless disregard for the rights of people with disabilities. Defendants also knew of

or ratified the discriminatory acts of their agents, ignored their duties under the law, or

otherwise engaged in knowledgeable inaction.

         77.    Plaintiff seeks punitive damages against the defendants because of

defendants' willful and/or reckless disregard of the law in an amount to be determined at

trial.

                          SECOND CAUSE OF ACTION
               (VIOLATION OF NEW YORK STATE EXECUTIVE LAW)

         78.    Plaintiff realleges and incorporates by this reference all allegations set

forth in this Complaint as if fully set forth herein.

         79.    The New York State Human Rights Law similarly prohibits failing to

design and construct covered multifamily dwellings in an accessible manner,

discriminatory notices or statements, denying or withholding housing accommodations

because of disability, and discrimination in the terms, conditions, or privileges of sale and

rental because of disability, and refusing reasonable modifications and accommodations.

New York State Executive Law§ 296(5) and (18).



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       80.     Plaintiff FHJC is a person as defined by the Executive Law § 292(1).

       81.     25 Bruckner Boulevard is a “multiple dwelling” and/or “multi-family

dwelling” as defined by the Executive Law § 292(12).

       82.     The residential units at 25 Bruckner Boulevard are “housing

accommodations” as defined by § 292(10) of the Executive Law.

       83.     In violation of the Executive Law § 296(18)(3), defendants have

committed discrimination by failing to design and construct a covered multifamily

dwelling, 25 Bruckner Boulevard, in compliance with accessibility requirements under

the law.

       84.     Defendants have and continue to commit discrimination in violation of the

Executive Law §296(5) by limiting and denying people with disabilities access to the

facilities and services available to the non-disabled.

       85.     Defendants have and continue to commit discrimination in violation of the

Executive Law §296(5) by discouraging people with disabilities from renting by denying

such persons access to facilities and services available to the non-disabled persons.

       86.     Defendants’ unlawful conduct has excluded and continues to exclude

people with disabilities from visiting and/or renting at 25 Bruckner Boulevard.

       87.     Defendants have and continue to commit discrimination by refusing to

make reasonable accommodations and modifications in their rules, policies, practices, or

services that are necessary to afford people with disabilities equal opportunity to use and

enjoy their housing accommodation in violation of the Executive Law §296(18)(2).




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        88.     Defendants have and continue to commit discriminate against plaintiff in

violation of Executive Law by maintaining and/or creating an inaccessible housing

accommodation.

        89.     It would not impose an undue hardship or undue burden on defendants to

make reasonable accommodations and modifications to make 25 Bruckner Boulevard

fully accessible to people with disabilities.

        90.     Defendants’ discriminatory actions were and are intentional, willful, or

with reckless disregard for the rights of people with disabilities. Defendants also knew of

or ratified the discriminatory acts of their agents, ignored their duties under the law, or

otherwise engaged in knowledgeable inaction.

        91.     As a direct and proximate result of defendants' unlawful discrimination in

violation of the Executive Law, plaintiff has and continue to suffer damages, including

for FHJC the diversion of resources and frustration of mission.

        92.     Plaintiff seeks damages in an amount to be determined at trial before a

jury.

        93.     Plaintiff seeks punitive damages against the defendants because of

defendants' willful and/or reckless disregard of the law under the Executive Law, in an

amount to be determined at trial

                          THIRD CAUSE OF ACTION
              (VIOLATION OF THE ADMINISTRATIVE CODE OF THE
                            CITY OF NEW YORK)

        94.     Plaintiff realleges and incorporates by this reference all allegations set

forth in this Complaint as if fully set forth herein.




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       95.     The New York City Human Rights Law (aka Title 8 of the Administrative

Code of the City of New York) prohibits discrimination because of disability in the

terms, conditions or privileges of sale and rental of a housing accommodation, and

includes refusals to permit reasonable accommodations. See Administrative Code §§ 8-

107(5) and 27-292.8 which contains the accessibility requirements under the NYC

Building Code.

       96.     The Local Civil Rights Restoration Act of 2005 (the “Restoration Act”),

also known as Local Law 85, clarified the scope of the New York City Human Rights

Law in relation to the New York City’s Human Rights Law. The Restoration Act

confirmed the legislative intent to abolish “parallelism” between the New York City

Human Rights Law and the Federal and New York State anti-discrimination laws by

stating as follows:

               The provisions of this title shall be construed liberally for the
               accomplishment of the uniquely broad and remedial purposes thereof,
               regardless of whether federal or New York State civil and human rights
               laws, including those laws with provisions comparably-worded to
               provisions of this title, have been so construed.

Restoration Act § 7 amending Administrative Code §8-130.

       97.     The New York City Human Rights Law requires property owners, owners,

and managing agents, to make reasonable accommodations for persons with disabilities.

Administrative Code § 8-107(15)(a).

       98.     Plaintiff FHJC is a person as defined by Administrative Code § 8-102(1).

       99.     The residential units at 25 Bruckner Boulevard are “housing

accommodations” as defined by Administrative Code § 8-102(10).

       100.    25 Bruckner Boulevard contains more than three residential apartments.




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        101.    25 Bruckner Boulevard has at least one passenger elevator.

        102.    25 Bruckner Boulevard was built after 1987.

        103.    25 Bruckner Boulevard does not comply with the requirements of

Administrative Code § 27-292.8.

        104.    Defendants violated the New York City Human Rights Law by designing

and constructing 25 Bruckner Boulevard in a manner that does not comply with

Administrative Code § 27-292.8.

        105.    Defendants have and continue to commit discrimination in violation of

Administrative Code § 8-107 and Local Law 58 by maintaining and/or creating an

inaccessible housing accommodation.

        106.    Defendants have and continue to subject people with disabilities to

disparate treatment by otherwise denying and/or otherwise withholding from people with

disabilities the ability to use and enjoy all the advantages, services, facilities, and

privileges of the defendants’ housing accommodation by the creation and maintenance of

a housing accommodation that is inaccessible to wheelchair users in violation of

Administrative Code § 8-107(5)(a)(1).

        107.    Defendants’ denial to and withholding from people with disabilities via

the inaccessible design and construction of 25 Bruckner Boulevard was deliberate,

calculated, egregious, and/or undertaken with reckless disregard for anti-discrimination

provisions of the Administrative Code.

        108.    It would not impose an undue hardship on defendants to make reasonable

accommodations or modification to make their housing accommodation fully accessible.

Administrative Code §8-102(18)




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       109.    By failing to comply with the law, defendants have articulated to people

with disabilities that they are not welcomed, objectionable, and not desired as tenants of

25 Bruckner Boulevard.

       110.    In violation of Administrative Code § 8-107(6), defendants have and

continue to, aid and abet, incite, compel or coerce each other in each of the other

defendants’ attempts to, and in their acts of directly and indirectly refusing, withholding,

and denying the accommodations, advantages, facilities, and privileges of their housing

accommodation.

       111.    Defendants engaged in discrimination with willful or wanton negligence,

and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so

reckless as to amount to such disregard for which plaintiff is entitled to an award of

punitive damages pursuant to Administrative Code § 8-502.

       112.    By refusing to make 25 Bruckner Boulevard accessible, defendants have

and continue to unlawfully profit from their discriminatory conduct. Defendants did and

do so from the income received from additional rental square footage that should have

been utilized for accessibility.

       113.    Defendants also unlawfully profited from their discriminatory conduct by

retaining money that would have and should otherwise be expended on accessible

features.

       114.    Defendants’ unlawful profits plus interest must be disgorged.

       115.    As a direct and proximate result of defendants' unlawful discrimination in

violation of the Administrative Code, plaintiff has and continue to suffer damages,

including for FHJC the diversion of resources and frustration of mission.




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         116.   Defendants' unlawful discriminatory conduct constitutes malicious, willful

and wanton violations of the New York City Human Rights Law for which plaintiff is

entitled to an award of punitive damages. Administrative Code § 8-502.

         117.   Plaintiff seeks damages in an amount to be determined at trial before a

jury.

                          FOURTH CAUSE OF ACTION
             (VIOLATIONS OF NEW YORK STATE CIVIL RIGHTS LAWS)

         118.   Plaintiff realleges and incorporates by this reference all allegations set in

this Complaint as if fully set forth herein.

         119.   Defendants discriminated against plaintiff in the public use spaces

pursuant to the Executive Law.

         120.   Consequently, plaintiff is entitled to recover the penalty prescribed by

Civil Rights Law §§ 40-c and 40-d, in the amount of $500 for each and every violation.

         121.   Notice of this action has been served upon the Attorney General as

required by Civil Rights Law § 40-d.

                                       JURY DEMAND

                    Plaintiff demands a trial by jury on all claims so triable.

                                   PRAYER FOR RELIEF

         WHEREFORE, plaintiff respectfully requests that the Court enter a judgment

against the defendants, jointly and severally, in favor of plaintiff that contains the

following relief:

        A.      Enter declaratory judgment declaring that defendants’ have violated the

FHAA, Executive Law, New York State Civil Rights Law and the New York City

Human Rights Law;



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     B.         Issue a permanent injunction ordering defendants to remove all violations

of the FHAA, Executive Law and New York City Human Rights Law and enjoining

defendants, defendants’ agents, employees, and successors, and all other persons in

active concert or participation from discriminating on the basis of disability, including the

following:

                    i. Refusing to rent, denying or withholding housing, or
                       otherwise making housing unavailable on the basis of
                       disability;
                   ii. Discriminating in the terms, conditions, or privileges of renting on
                       the basis of disability;
                  iii. Making notices or statements with regard to the rental of a
                       dwelling that indicate a preference, limitation or
                       discrimination based on disability;
                  iv. Refusing to make reasonable accommodations or to permit
                       reasonable modifications for people with disabilities; and
                   v. Failing to design and construct covered multifamily dwellings
                       in compliance with the accessibility requirements of the
                       FHAA, Executive Law, and New York City Human Rights
                       Law.

     C.         Issue a permanent injunction prohibiting defendants from designing

and constructing future multifamily housing in violation of the FHAA, Executive Law

and New York City Human Rights Law’s design and construction accessibility

requirements;

      D.        Enjoining defendants and their agents, employees, and successors, and

all other persons in active concert or participation to:

                   i. Make or pay for all the necessary retrofitting in the multifamily
                      dwellings and common areas of 25 Bruckner Boulevard;
                  ii. Make all necessary modifications to their policies, practices, and
                      procedures to comply with the laws;
                 iii. Train all management, agents, and employees on fair housing laws;
                      and
                 iv. Allow monitoring of their design and construction of covered
                      multifamily dwellings for compliance with the accessibility
                      requirements of the FHAA, Executive Law and the New York


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                      City Human Rights Law.

      E.        Retain jurisdiction over the defendants until the Court is satisfied that the

defendants' unlawful practices, acts and omissions no longer exist and will not reoccur;

      F.        Award plaintiff punitive damages in order to punish and deter the

defendants for their violations of the FHAA, Executive Law and the New York City

Human Rights Law;

      G.        Award plaintiff monetary damages for each and every violation of the law,

per defendant, pursuant to New York State Civil Rights Law §§ 40-c and 40-d;

       H.       Find that plaintiff is a prevailing party in this litigation and award

reasonable attorney’s fees, costs and expenses pursuant to the FHAA, Executive Law and

the New York City Human Rights Law; and

       I.       For such other and further relief, at law or in equity, to which plaintiff may

be justly entitled.

Dated: September 17, 2019
       New York, New York
                                                Respectfully submitted,

                                                PARKER HANSKI LLC


                                                By:     /s
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